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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-0072 (CRC)
       v.                                      :
                                               :
GRACYN COURTRIGHT,                             :
                                               :
                Defendant.                     :


                      JOINT MOTION TO CONTINUE SENTENCING


       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and Defendant, by and through her attorney, Thomas Abbenante, Esquire

(collectively “the Parties”) respectfully submit this joint notice of filing and state as follows:

       On August 30, 2021, Gracyn Courtright (hereinafter “Courtright” or the “defendant”)

pleaded guilty to Count One of the Information, charging her with a violation of 18 U.S.C.

§ 1752(a)(1) (Entering and Remaining in a Restricted Building or Grounds) and a sentencing

hearing was set for November 16, 2021 at 10:00 a.m. with the parties sentencing memoranda due

on November 9, 2021.

       The government expects to seek active incarceration in this case, and both parties want

additional time to present both aggravating and mitigating factors that will be relevant at

sentencing. Based on counsel’s schedule, as well as the defendant’s current release from custody,

and her continued compliance, the parties jointly request a continuance of the sentencing hearing

for 30-45 days. The parties are both available on December 17, 2021 if that date is convenient for

the Court.
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       WHEREFORE, the Parties respectfully requests that this Court grant the motion for a 30-

45 day continuance of the above-captioned proceeding to a date convenient to the Court.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar 481052


                                    By:             /s/ RAF
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                                    By:           /s/
                                            Thomas Abbenante, Esq.
                                            Counsel for the Defendant




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